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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                      §
                                            §          Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                   §
                                            §          Chapter 11 (Subchapter V)
                            DEBTOR.         §

             NOTICE OF APPEARANCE, REQUEST FOR ALL NOTICES,
          AND DEMAND FOR SERVICE OF ALL PLEADINGS AND FILINGS

         PLEASE TAKE NOTICE that the undersigned appears as the Subchapter V

Trustee pursuant to Section 1109(b) of Title 11 of the United States Code

(“Bankruptcy Code”) and Rule 9010 of the Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rules”) and hereby submits this notice of appearance and requests

notice of all hearings and conferences herein and makes demand for service of all papers

herein, including all papers and notices pursuant to Bankruptcy Rules 2002, 3017, and

9007. All notices given or required shall be served upon:

                          Elyse M. Farrow
                          State Bar No. 24062719
                          700 Milam, Suite 1300
                          Pennzoil Place
                          Houston, Texas 77002
                          Telephone: (832) 819-1149
                          Facsimile: (866) 405-6038
                          Email: efarrow@haseldenfarrow.com

          Please take further notice that the foregoing request includes notices and

 papers referred to in the Bankruptcy Rules and includes, without limitation, any

 plans of reorganization, notices of hearings, orders, pleadings, motions, applications,

 complaints, demands, requests, petitions, disclosure statements, memoranda, briefs

 and any other documents brought before this Court with respect to these proceedings,
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   whether formal or informal, whether written or oral, whether transmitted or conveyed

   by mail, hand delivery, telephone, telecopier, telegraph, or telex.

          DATED: March 24, 2023                       Respectfully submitted,

                                                      HASELDEN FARROW, PLLC

                                                      By: /s/ Elyse M. Farrow   t
                                                      ELYSE M. FARROW
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                                                      Email: efarrow@haseldenfarrow.com
                                                      SUBCHAPTER V TRUSTEE OFFICE

                                              CERTIFICATE OF SERVICE
        I hereby certify that on March 24, 2023, a copy of the foregoing Notice of Appearance was
filed with the Court and served electronically upon those parties registered to receive electronic
notice via the Court’s CM/ECF System.

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Joseph S.U. Bodoff on behalf of Creditor ADP TotalSource, Inc.
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Marty L Brimmage on behalf of Creditor Committee Official Committee of Unsecured Creditors of
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                                                   /s/ Elyse M. Farrow       t
                                                   ELYSE M. FARROW




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